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              IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF ALABAMA
                       NORTHERN DIVISION

STEVEN CLAYTON THOMASON,                  )
                                          )
              Plaintiff,                  )
                                          )
       v.                                 ) CASE NO. 2:15-CV-26-WKW
                                          ) (WO)
STATE OF ALABAMA HOME                     )
BUILDERS LICENSURE BOARD,                 )
                                          )
J.R. CARDEN, in his official capacity )
as Executive Director for the State of    )
Alabama Home Builders Licensure           )
Board, also known as CHIP                 )
CARDEN,                                   )
                                          )
KATHY PERRY BRASFIELD, in her )
official capacity as Assistant Attorney )
General for the State of Alabama          )
Home Builders Licensure Board,            )
                                          )
JAMIE A. DURHAM, in her official          )
capacity as Deputy Attorney General       )
for the State of Alabama Home             )
Builders Licensure Board,                 )
                                          )
STEPHEN MCCOLLOUGH, in his                )
official capacity as Investigator for the )
Home Builders Licensure Board for         )
the State of Alabama,                     )
                                          )
TODD BETTS, in his official capacity )
as Investigator for the State of          )
Alabama Home Builders Licensure           )
Board,                                    )
                                          )
DARYL BAILEY, District Attorney           )
for Montgomery County,                    )
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                                 )
                                                    1
STEVE MARSHALL, State of         )
Alabama Attorney General,        )
                                 )
WILLIAM R. DELONEY, Chairman, )
in his individual capacity,      )
                                 )
DON SPURLIN, Chairman, in his    )
individual capacity,             )
                                 )
LYNN CORDER, Chairman, in his    )
individual capacity,             )
                                 )
RANDY CUNNINGHAM, Chairman, )
in his individual capacity,      )
                                 )
                    2
KEN KIRCHLER, Chairman, in his   )
individual capacity,             )
                                 )
JOHN T. MANUEL, Chairman, in his )
individual capacity,             )
                                 )
JACK B. REID, Chairman, in his   )
individual capacity, and         )
                                 )
          3
RODDY O. SAMPLE, Chairman, in )
his individual capacity,         )
                                 )
              Defendants.        )

                                         MEMORANDUM OPINION AND ORDER

              On March 7, 2017, the Magistrate Judge filed a Recommendation. (Doc. #

114.) On March 20, 2017, Plaintiff Steven Clayton Thomason filed objections.
                                                            
              1
        Steve Marshall has succeeded Luther Strange as Attorney General and, therefore, Steve
Marshall is automatically substitute for Luther Strange as a Defendant. Fed. R. Civ. P. 25(d).
              2
                  Defendant Ken Kirchler’s last name is misspelled in Plaintiff’s complaint.
              3
                  Defendant Roddy O. Sample’s first name is misspelled in Plaintiff’s complaint.
                                                      2
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(Doc. # 116.) The court has conducted an independent and de novo review of

those portions of the Recommendation to which objection is made. See 28 U.S.C.

§ 636(b).

              In his well-reasoned Recommendation, the Magistrate Judge explained in

detail the reasons why this case should be dismissed for Plaintiff’s continuing

inability and unwillingness to comply with court orders and with the basic notice

pleading requirements of the Federal Rules of Civil Procedure. (Doc. # 114.)

Plaintiff objects, arguing that his complaint is sufficient to place Defendants on

notice of the claims against them, and he argues the merits of some of those claims.

(Doc. # 116.) As has been explained to Plaintiff on numerous occasions, and as

explained again in the Recommendation (Doc. # 114), Plaintiff’s complaint is not

sufficient. Plaintiff’s insistence that his meandering 199-page shotgun complaint4

is adequate – in the face of numerous orders finding to the contrary – simply

underscores the Magistrate Judge’s conclusion that, due to Plaintiff’s inability and

unwillingness to submit to the court’s orders, any further opportunity to amend is

likely to be as futile as the numerous previous amendment opportunities that have

already been provided.

              Accordingly, it is ORDERED as follows:

              1.             Plaintiff Steven Clayton Thomason’s objection (Doc. # 116) is

                             OVERRULED.
                                                            
              4
                  Attached to the 199-page complaint are an additional 191 pages of exhibits.
                                                        3
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 2.   The Recommendation (Doc. # 114) is ADOPTED.

 3.   Plaintiff’s motion for injunction (Doc. # 83) is DENIED.

 4.   Defendants’ motion to renew their motions to dismiss (Doc. # 89) is

      GRANTED, and the motions to dismiss (Doc. ## 10, 18, 35, 37, and

      38) and motions for more definite statement (Doc. ## 35, 37, 38) are

      renewed.

 5.   The motion to dismiss (Doc. # 10) filed by Defendants State of

      Alabama Home Builders Licensure Board, and J. R. Carden, Jr., Jamie

      Durham, Stephen McCollough, Todd Betts, and Kathy Perry Brasfield

      is GRANTED.

 6.   The motion to dismiss (Doc. # 18) filed by Defendants Daryl Bailey,

      Todd Betts, Kathy Perry Brasfield, J.R. Carden, Jamie A. Durham,

      Stephen McCollough is GRANTED.

 7.   The motion to dismiss (Doc. # 35) filed by Defendants Alabama

      Home Builders Licensure Board, J. R. Carden, Kathy Perry Brasfield,

      Jamie A. Durham, Todd Betts, Stephen McCollough, and Daryl

      Bailey is GRANTED.

 8.   The motion for more definite statement (Doc. # 35) filed by

      Defendants Alabama Home Builders Licensure Board, J. R. Carden,

      Kathy Perry Brasfield, Jamie A. Durham, Todd Betts, Stephen

      McCollough, and Daryl Bailey is DENIED as moot.
                                 4
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 9.    The motion to dismiss (Doc. # 37) filed by Defendants  Steve

       Marshall, Lynn Corder, Jack B. Reid, and Ken Kirchler is

       GRANTED.

 10.   The motion for more definite statement (Doc. # 37) filed by

       Defendants  Steve Marshall, Lynn Corder, Jack B. Reid, and Ken

       Kirchler is DENIED as moot.

 11.   The motion to dismiss (Doc. # 38) filed by Defendants  William R.

       DeLoney, Don Spurlin, Randy Cunningham, John T. Manuel, and

       Roddy O. Sample is GRANTED.

 12.   The motion for more definite statement (Doc. # 38) filed by

       Defendants William R. DeLoney, Don Spurlin, Randy Cunningham,

       John T. Manuel, and Roddy O. Sample is DENIED as moot.

 13.   Plaintiff Steven Clayton Thomason’s claims against Defendants State

       of Alabama Home Builders Licensure Board, J. R. Carden, Kathy

       Perry Brasfield, Jamie A. Durham, Stephen McCollough, Todd Betts,

       Daryl Bailey, Steve Marshall, William R. Deloney, Don Spurlin, Lynn

       Corder, Randy Cunningham, Ken Kirchier, John T. Manuel, Jack B.

       Reid, and Ruddy O. Sample are DISMISSED with prejudice.

 14.   There being no other claims pending, this case is DISMISSED.


                                 5
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 Final judgment will be entered separately.

 DONE this 24th day of March, 2017.

                                     /s/ W. Keith Watkins
                           CHIEF UNITED STATES DISTRICT JUDGE




                                   6
